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  Line. To use CSXT’s first category as an example, regarding setting of NPBL rates, the entire
  list of documents in CSXT’s answer consists of internal NS discussions, not dealing with NPBL
  communications, and transmissions by the Belt Line of pertinent documents and information to
  its rate committees in 1999 and 2009.

          The Belt Line is entitled to a full and complete answer to its interrogatory, and Rule 33(d)
  does not permit a broad citation to swaths of documents. If CSXT maintains that “NPBL and NS
  have had numerous communications in furtherance of this continuing conspiracy” it must
  identify the specific communications. Please supplement this answer to provide the information
  requested in the interrogatory.

         Interrogatory No. 4

          This interrogatory states: “Identify the specific overt act(s) by NPBL that you contend
  form the basis for the conspiracy alleged in Counts I, II, VIII, and IX of your Complaint,
  including the identities of the specific persons who you contend committed such act(s), the dates
  and circumstances of such act(s), and all documents that support your answer.”

         CSXT answered: “Without waiver of its objections, and without limitation, CSXT points
  NPBL to the acts referenced within the communications identified in CSXT’s Answer to
  NPBL’s Interrogatory No. 3 above. Investigation is ongoing, and CSXT reserves the right to
  supplement and/or amend this answer as documents and evidence are produced and reviewed in
  discovery in this Action.”

          As with CSXT’s prior answer, this answer fails to identify any specific overt acts by the
  Belt Line that form the basis for an alleged conspiracy. Again, the communications cited by
  CSXT are almost entirely internal NS emails. They do not identify specific overt acts, and it is
  not the Belt Line’s obligation to parse through hundreds of pages of NS documents to try to find
  what CSXT claims to be responsive information. Please supplement this answer to identify
  specific overt acts as requested in the interrogatory.

         Interrogatory No. 6

          This interrogatory states: “If you intended the $80 per car rate proposed in your March
  23, 2018 Letter to apply to any persons or entities other than CSXT, identify all such persons or
  entities, including any conditions (such as minimum car volumes or use of locomotives or fuel)
  that you intended to apply to them, and identify all documents or communications wherein you
  so advised NPBL.”

           CSXT answered: “Without waiver of its objections, CSXT states that the March 23, 2018
  Letter speaks for itself. The Letter does not say that the rate proposed therein would only apply
  to CSXT. CSXT further states that, consistent with NPBL’s governing documents, NPBL could
  apply the rate proposed in the March 23, 2018 Letter, as well as any other conditions outlined in
  that letter, to any or all of NPBL’s current or future customers, including NS.”
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          CSXT’s answer is deficient. The interrogatory asks whether CSXT “intended” the $80
  per car rate to apply to any other customer, not whether the Belt Line could apply it to another
  customer. The interrogatory further asks CSXT to identify “any conditions (such as minimum
  car volumes or use of locomotives or fuel)” that CSXT intended to apply to such customer.

          CSXT answered no part of the question. Please supplement this answer to state CSXT’s
  intent and, if appropriate based on the answer, to provide the additional information requested.

         Interrogatory No. 14

          This interrogatory states: “If you contend that, since the inception of NPBL, any member
  of the NPBL Board of Directors has not been unanimously elected by the Shareholders of
  NPBL, identify such member(s) and state with specificity the number of shares voted for and
  against the election and by whom, including all documents that support your answer.”

         CSXT answered: “Without waiving its objections, CSXT states that it does not presently
  contend that, since the time that NS was created by merger, any members of the NPBL Board
  were not elected by the majority vote of the Shareholders of NPBL, with NS casting the
  deciding vote as majority shareholder.”

          Again, CSXT failed to answer the question. Every member of the NPBL Board is elected
  by at least a majority vote. The interrogatory asks whether CSXT contends that any Belt Line
  Board member has been not unanimously elected. Please supplement this answer to respond to
  the interrogatory.

         Interrogatory No. 15; Request for Admission No. 14

        Request for admission no. 14 asks CSXT to admit that, “since 2012, CSXT has never
  moved for or sought adoption of a new rate for line haul switching service to NIT at any
  NPBL Shareholders meeting.”

          CSXT denied this request because it claims it “sought adoption” of the rate proposed in
  the March 23, 2018 letter. For support, CSXT cites to a “document beginning with Bates
  number CSXT0143657.” The document matching that Bates number is a three-page invoice
  from CSXT to NS dated December 2016 related to the North Charleston Terminal Company. To
  the extent there are documents supporting CSXT’s contention that it sought adoption of the rate
  proposed in the letter, please provide us with the correct citations.

         If you have any questions, please feel free to call me.

                                               Very truly yours,

                                               /s/ W. Ryan Snow

                                               W. Ryan Snow
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  Counsel for CSXT
  April 8, 2020
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  cc:   James L. Chapman, IV, Esquire jchapman@cwm-law.com
        David C. Hartnett, Esquire dhartnett@cwm-law.com
        Alan D. Wingfield, Esquire alan.wingfield@troutmansanders.com
        Michael E. Lacy, Esquire michael.lacy@troutmansanders.com
        Elizabeth S. Flowers, Esquire liz.flowers@troutmansanders.com
        John C. Lynch, Esquire john.lynch@troutmansanders.com
        Kathleen M. Knudsen, Esquire kathleen.knudsen@troutmansanders.com
        Monica McCarroll, Esquire mmccarroll@redgravellp.com
        Jeanne E. Noonan, Esquire jnoonan@mcguirewoods.com
        Benjamin L. Hatch, Esquire bhatch@mcguirewoods.com
        Ashley P. Peterson, Esquire apeterson@mcguirewoods.com
        J. Brent Justus, Esquire bjustus@mcguirewoods.com
        V. Kathleen Dougherty, Esquire vkdougherty@mcguirewoods.com
